904 F.2d 45
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.PENJASKA TOOL COMPANY, Appellant,v.THE UNITED STATES, Appellee.
    No. 90-1104.
    United States Court of Appeals, Federal Circuit.
    May 16, 1990.
    
      1
      Before MICHEL, Circuit Judge, BALDWIN, Senior Circuit Judge, and SPENCER M. WILLIAMS, Senior District Judge.*
    
    Judgment
    PER CURIAM
    
      2
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         The Honorable Spencer M. Williams, Senior District Judge, United States District Court for the Northern District of California, sitting by designation
      
    
    